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                 BEFORE THE UNITED STATES JUDICIAL PANEL
                      ON MULTIDISTRICT LITIGATION


                                             )
IN RE: BLUE CROSS BLUE SHIELD                )
ANTITRUST LITIGATION                         )      MDL No.: 2406
                                             )

                                   PROOF OF SERVICE

        I hereby certify that on this the 13th day of March, 2013, a copy of the foregoing

Notice of Potential Tag-Along Action was electronically filed with the Judicial Panel on

Multidistrict Litigation by using the CM/ECF system which will send notice of electronic

filing to all parties of record.


                                              /s/ Joe R. Whatley, Jr.
                                             Joe R. Whatley, Jr.

                                             One of the Attorneys for Plaintiffs Advanced
                                             Surgery Center of Bethesda, LLC; Bethesda
                                             Chevy Chase Surgery Center, LLC; Deer
                                             Pointe Surgical Center, LLC; Hagerstown
                                             Surgery Center, LLC; Leonardtown Surgery
                                             Center, LLC; Maple Lawn Surgery Center,
                                             LLC; Piccard Surgery Center, LLC; Riva
                                             Road SurgCenter, LLC; SurgCenter of Bel
                                             Air, LLC; SurgCenter of Glen Burnie, LLC;
                                             SurgCenter of Greenbelt, LLC; SurgCenter
                                             at National Harbor, LLC; SurgCenter of
                                             Silver Spring, LLC; SurgCenter of Southern
                                             Maryland, LLC; SurgCenter of Western
                                             Maryland, LLC; SurgCenter of White
                                             Marsh, LLC; Timonium Surgery Center,
                                             LLC; and Westminster Surgery Center, LLC

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